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8                                       UNITED STATES DISTRICT COURT

9                                  CENTRAL DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                     )    Case No. CR 21-0422 FMO-2 & 3
                                                   )
12                         Plaintiff,              )
                                                   )
13                 v.                              )    PROTECTIVE ORDER
                                                   )
14   JESUS CHUY TOSCANO, and                       )
     ALEJANDRO ALVAREZ-RUBIO,                      )
15                                                 )
                           Defendants.             )
16

17          Pursuant to Fed. R. Crim. P. 16(d)(1) and having reviewed and considered the

18   government’s Ex Parte Application (Dkt. 31) regarding the scope of the Proposed Protective Order

19   (“Protective Order”), the court hereby enters the following Protective Order governing the

20   disclosure of protected information in this matter. The court finds that the instant Protective Order

21   is narrowly tailored to meet the particular interests at stake in this case. See ABA Standards for

22   Criminal Justice Discovery and Trial by Jury, Commentary to Standard 11-6.5 (3d ed. 1996)

23   (“[T]he provisions of the protective order may be designed to protect a victim or witness, to ensure

24   the safety of the evidence, to establish procedures for disclosure of particular materials, to

25   regulate the timing of specified discovery or otherwise to regulate and control any aspect of the

26   discovery procedures.”); Roviaro v. United States, 353 U.S. 53, 62, 77 S.Ct. 623, 628-29 (1957)

27   (“The problem is one that calls for balancing the public interest in protecting the flow of information

28   against the individual’s right to prepare his defense.”). Specifically, the court finds that a Protective
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1    Order is necessary because certain parts of the discovery in this case relate to the history of

2    confidential informants, cooperating witnesses, and/or undercover agents involved in the

3    investigation of this case, and the dissemination or distribution of these discovery materials could

4    compromise the ability of the confidential informants, cooperating witnesses, and/or undercover

5    agents to participate effectively in future investigations in an undercover capacity, and it could

6    expose them to potential safety risks. Accordingly, IT IS ORDERED as follows:

7           1. For the purposes of this Protective Order, the following definitions apply:

8                  a. “Personal Identifying Information,” or “PII,” is defined as information that can be

9           used to identify a person, including name, address, date of birth, Social Security number,

10          driver's license number, telephone number, account number, or personal identification

11          number. The term "Protected Information" refers to materials containing PII that the

12          government produces to the defense pursuant to the Protective Order.

13                 b. "Defense Team" refers to (1) defendants’ counsel of record, (2) other attorneys

14          at defense counsel's law firm who may be consulted regarding case strategy in the

15          above-captioned matter, (3) defense investigators who are assisting defense counsel with

16          this case, (4) retained experts or potential experts, and (5) paralegals, legal assistants, and

17          other support staff to defendants’ counsel of record providing assistance on this case - all

18          of whom have been advised of their obligations under the Protective Order and have

19          affirmed to defendants’ counsel of record that they agree to be bound by the terms of the

20          Protective Order. The term "defense team" does not include defendants, their family

21          members, or any other associates of defendants.

22          2. The government's discovery in this case relates to the defendants’ alleged crimes, that

23   is, violations of 21 U.S.C. § 846, conspiracy to distribute and possess with intent to distribute

24   methamphetamine; 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii), possession with intent to distribute

25   methamphetamine.

26          3. Certain parts of the discovery in this case relate to the history of confidential informants,

27   cooperating witnesses, and/or undercover agents involved in the investigation of this case, and

28   as such the discovery contains personal identifying information. The dissemination or distribution

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1    of these materials could compromise the ability of the confidential informants, cooperating

2    witnesses, and/or undercover agents to participate effectively in future investigations in an

3    undercover capacity, and it could expose them to potential safety risks.

4           4. The defense team shall not permit anyone other than the defense team to have

5    possession of Protected Information, including defendants. Lead defense counsel shall advise

6    all members of the defense team of their obligations under the Protective Order and ensure their

7    agreement to follow the Protective Order, prior to providing members of the defense team with

8    access to any materials subject to the Protective Order.

9           5. The government shall provide defendants’ counsel of record with Protected Information

10   marked with the following legend: “CONTENTS SUBJECT TO PROTECTIVE ORDER.” If

11   defendants object to any such designation, defendants may do so by application to the court,

12   following a meet and confer with the government regarding the objection.

13          6. Defendants may review Protected Information only in the presence of a member of the

14   defense team, and his counsel of record shall ensure that defendants are never left alone with any

15   discovery subject to the Protective Order. Defendants may see and review Protected Information

16   in the presence of a member of the defense team, but defendants may not copy, keep, maintain,

17   or otherwise possess any of such Protected Information in this case at any time. Defendants must

18   return any Protected Information to the defense team at the conclusion of any meeting at which

19   defendants are permitted to view the Protected Information. Defendants may not take any

20   Protected Information out of the room in which they are meeting with the defense team. At the

21   conclusion of any meeting with defendants, the member of the defense team present shall take

22   with him or her all Protected Information.

23          7. The defense team may review Protected Information with a witness or potential witness

24   in this case, including defendants. Before being shown any portion of Protected Information,

25   however, any witness or potential witness must be informed of, and expressly agree, without

26   qualification, to be bound by the requirements of the Protective Order, whose terms shall be

27   communicated to that person by a member of the defense team who is present. The defense

28   team shall maintain a schedule which sets forth the name of each person who made such a

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1    commitment, and the date on which it was made. That schedule shall be maintained by the

2    defense team; provided, however, it is not precluded from asserting any applicable privilege

3    should a request for its production be made. No witness or potential witness may retain Protected

4    Information, or any copy thereof, after his or her review of those materials with the defense team

5    is complete.

6           8. The defense team shall maintain Protected Information safely and securely, and shall

7    exercise reasonable care in ensuring the confidentiality of those materials by: (1) not permitting

8    anyone other than defense team members and defendants as restricted above to see Protected

9    Information; (2) not divulging to anyone the contents of Protected Information; and (3) not

10   permitting Protected Information to be outside the defense team's offices, homes, vehicles, or

11   personal presence.

12          9. To the extent that notes are made that memorialize, in whole or in part, the PII in any

13   Protected Information, or to the extent that copies are made for authorized use by members of the

14   defense team, such notes, copies, or reproductions become Protected Information subject to the

15   Protective Order and must be handled in accordance with the terms of the Protective Order.

16          10. The defense team shall use Protected Information and materials otherwise identified

17   as containing PII only for the litigation of this matter and for no other purpose. Litigation of this

18   matter includes any appeal filed by defendants and any motion filed by defendants pursuant to 28

19   U.S.C. § 2255. In the event that a party needs to file Protected Information or materials otherwise

20   identified as containing PII with the court or divulge the contents of such materials in court filings,

21   the filing should be made under seal. If the court rejects the request to file such information under

22   seal, the party seeking to file such information shall provide advance written notice to the other

23   party to afford such party an opportunity to object or otherwise respond to such intention. If the

24   other party does not object to the proposed filing, the party seeking to file such information shall

25   make all reasonable attempts to limit the divulging of PII.

26          11. Any PII that was produced prior to the date of this Protective Order shall be subject to

27   the terms of the Protective Order.

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1           12. Upon the final disposition of this case, any Protected Information and materials

2    otherwise identified as containing PII shall not be used in any other matter, absent a court order.

3    All materials designated subject to the Protective Order maintained in the defense team's files

4    shall remain subject to the Protective Order unless and until such order is modified by court order.

5    Within thirty (30) days of the conclusion of appellate and post-conviction proceedings, and upon

6    request of the government, the defense team shall either: return Protected Information and

7    materials otherwise identified as containing PII to the government; certify that such materials have

8    been destroyed; or certify that such materials are being kept pursuant to the Business and

9    Professions Code and the Rules of Professional Conduct.

10          13. In the event that there is a substitution of counsel prior to when such documents must

11   be returned, the Protective Order shall apply to any subsequently substituted or additional defense

12   counsel and to all members of that defense counsel's defense team. New defense counsel will

13   become the defense team's custodian of materials designated subject to the Protective Order and

14   who shall then become responsible, upon the conclusion of appellate and post-conviction

15   proceedings, for returning to the government, certifying the destruction of, or retaining pursuant

16   to the Business and Professions Code and the Rules of Professional Conduct all Protected

17   Information and materials otherwise identified as containing PII.

18          14. The Protective Order may be modified upon a showing of good cause at the request

19   of a party or on the court's own motion.

20   Dated this 5th day of October, 2021.

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22                                                                        /s/
                                                                  Fernando M. Olguin
23                                                             United States District Judge

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